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                                                                                                                 CO-386
                                                                                                                 10/2018


                                   United States District Court
                                   For the District of Columbia
SGCI HOLDINGS III LLC and                           )
SOO-HYUNG KIM                                       )
                                                    )
                                                    )
                                     Plaintiff      )                          1:24-cv-1204
                                                             Civil Action No._______________________
                       vs
                                                    )
FEDERAL COMMUNICATIONS
                                                    )
COMMISSION, et al.
                                                    )
                                                    )
                                    Defendant       )


                                                 CERTIFICATE RULE LCvR 26.1

                                           Plaintiffs
I, the undersigned, counsel of record for ____________________________________ certify that to the best of my knowledge and

                                                                           SGCI HOLDINGS III LLC
belief, the following are parent companies, subsidiaries or affiliates of _______________________________________ which have

any outstanding securities in the hands of the public:

  Standard General Master Fund II L.P., a Cayman Islands limited partnership, owns 20.4% of the equity of SGCI
  Holdings III LLC.

  SGCI Holdings LLC, a Delaware limited-liability company, owns 23.90% of the equity of SGCI Holdings III LLC.

  EPSG Master SPC Ltd., a Cayman Islands limited corporation, owns 39.1% of the equity of SGCI Holdings III LLC.

These representations are made in order that judges of this court may determine the need for recusal.


                                                               Attorney of Record

                                                               _______________________________________
                                                               Signature

 DC Bar No. 982312
________________________________________                       Tyler R. Green
                                                               _______________________________________
BAR IDENTIFICATION NO.                                         Print Name

                                                               222 S. Main St., 5th Fl.
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                                                               Phone Number
